Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 1 of 21 PageID 650




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA



 ANDREA ELLIS, individually and             CASE NO.: 6:22-cv-1005-RBD-DCI
 on behalf of all others similarly
 situated,
                                            CLASS ACTION
       Plaintiff,

 v.

 STATE FARM MUTUAL
 AUTOMOBILE COMPANY, an Illinois
 corporation,

     Defendant.
 __________________________/


            SECOND AMENDED CLASS ACTION COMPLAINT

      Plaintiff ANDREA ELLIS (“Plaintiff”), individually and on behalf of all

others similarly situated, hereby files this Amended Class Action Complaint

against Defendant State Farm Mutual Automobile Company (“State Farm” or

“Defendant”), and alleges:


                          NATURE OF THE ACTION

      1.     This is a class action lawsuit brought by Plaintiff, a named insured

under an automobile policy issued by State Farm for business auto physical

damage, including comprehensive and collision coverage (the “Policy”), under

which Defendant is required to pay the “Actual Cash Value” (“ACV”) of an insured

vehicle in the event it is declared a “total loss”. Defendant and its vendors possess
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 2 of 21 PageID 651




data demonstrating that vehicles on average are sold for the amount they are listed,

meaning there is not a negotiation down from the listed price. Incredibly, and

unconscionably, State Farm (through its vendor) simply tosses the data then

represents to its insureds that the opposition is true, i.e., that there is an average

difference of approximately 8% between list price and sold price—this is false, and

State Farm knows (or should know) that it is false—which is supposedly

attributable to negotiation.1

       2.     State Farm is a private insurance company that transacts insurance in

the State of Florida. Among other coverages, Defendant offers comprehensive and

collision coverage. Upon information and belief, Defendant systematically

underpaid amounts owed not just to Plaintiff, but to thousands of other insureds,

all of whom are putative members of the Class (as fully defined below), in payment

for total loss vehicles insured with comprehensive and collision coverage.

       3.     This lawsuit is brought by Plaintiff, individually and on behalf and all

other similarly situated insureds, against State Farm for damages suffered as a

result of Defendant’s failure to make properly pay the true market cash value to

first-party insureds who suffered a total loss of their insured vehicles.

       4.     Insureds, such as Plaintiff and the putative Class Members, pay a

premium in exchange for State Farm’s promise to repair any damage to an insured

vehicle caused by a covered peril. However, State Farm’s obligation to repair any



1
 Upon information and believe, State Farm recently switched the vendor it uses to value totaled
vehicles and, thus, no longer applies a “typical negotiation” adjustment.
                                              2
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 3 of 21 PageID 652




damage is not limitless; rather, it is limited (or capped) to the ACV of the insured

vehicle – for example, State Farm is not obligated to spend $20,000 to repair

extensive damage to a vehicle that is only worth $5,000. Under such

circumstances, where the cost to repair the damage exceeds the value of the vehicle

(less retained value), the vehicle is considered a “total loss.” If a “total loss” occurs,

State Farm’s contractual obligation is limited to paying ACV.

      5.     The goal of ACV in insurance contracts is that of indemnity. By

promising to pay the cost to repair the vehicle limited at ACV in the event of a total

loss, Defendant promises to put its insureds back to their pre-loss position.

      6.     In Florida, the insurer must either physically replace the total loss

vehicle with another vehicle (including of course paying concomitant sales tax and

replacement fees) or the insurer may elect a cash settlement based upon the actual

cost to purchase a comparable motor vehicle. See § 626.9743, Fla. Stat.

      7.     State Farm chose to not replace or repair Plaintiff's vehicle but rather

chose to pay a cash settlement for what it represented to be the actual cost to

purchase a comparable automobile or ACV.

      8.     When determining the ACV of a total loss vehicle, it is improper for an

automobile insurance company, such as State Farm, to undervalue and underpay

the claims by manipulating the data used to value the vehicles.

      9.     Notwithstanding its contractual obligations, State Farm systemically

fails to pay its insureds the ACV of their total-loss vehicles by applying an improper

and unreasonable Typical Negotiation Adjustments (“Negotiation Reduction”) to

                                            3
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 4 of 21 PageID 653




the value of the vehicle. This reduction is contrary to appraisal standards and

methodologies, is not based in fact, is contrary to the used-car industry’s pricing

and inventory management practices, and is applied by Defendant solely as a basis

to reduce the amount owed to its insureds after a total loss and increase

Defendant’s profits.

      10.    The across-the-board Negotiation Reduction does not reflect market

realities. Indeed, Defendant applies the “Typical Negotiation” adjustment without

contacting the identified dealerships or sellers or considering whether the online

retailer ever discounts its vehicles. Notably, in applying a universal percentage-

based “Typical Negotiation Adjustment” reduction, Defendant ignored that it has

for decades been the practice of used car dealers to price vehicles to market and

not deviate from that advertised cash price. It simply is not the case—and has not

been for well over 10-15 years—that used car dealers routinely price above market

with the hopes of striking a great deal with some terrible negotiating consumer but

with the expectation of probably having to negotiate down from that price. That is

simply not how the market works anymore, given, amongst other things, the

ubiquity of Internet advertising and shopping and the development of

sophisticated pricing tools (for dealers) and comparison tools (for consumers).

Indeed, particularly during the COVID-19 pandemic, and the related supply chain

problems with parts such as electronics for vehicles, used cars have been selling for

a premium, with sale price typically increasing from the posted price.



                                         4
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 5 of 21 PageID 654




      11.    Moreover, the Negotiation Reduction is arbitrary and not based on

statistically valid calculations. Upon information and belief, Defendant

manipulates the data by simply ignoring the vast number of data points where the

sold price is equal to or greater than that vehicle’s advertised price.

      12.    The Negotiation Reduction was applied to the comparable vehicles

evaluated by State Farm on top of adjustments for differences such as mileage,

options, and equipment. The deduction is not specific as reasonably possible nor

appropriate as to dollar amount, and no explanation is provided as to the

evidentiary basis for the across-the-board reduction.

      13.    This pattern and practice of deliberately undervaluing comparable

and total-loss vehicles when paying first-party automobile total loss claims results

in Defendant underpaying insureds for the ACV of their total-loss vehicles, in

breach of the clear terms of its insurance policy.

      14.    Plaintiff and the putative Class Members lived up to their end of the

bargain by paying the premiums owed and abiding by all contractual requirements.

Defendant did not. Rather, Defendant reduced the ACV value of total-loss vehicles

through the use of the arbitrary and unsupported Negotiation Reduction.

      15.    Defendant’s standardized policy language as to coverage for the ACV

of total-loss vehicles is present in every auto policy issued by Defendant in Florida

and requires that it pay at least the based upon actual cost to purchase a

comparable motor vehicle of every total loss insured vehicle.



                                          5
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 6 of 21 PageID 655




       16.    Defendant’s failure to pay the full and complete ACV of insured

vehicles on first-party claims constitutes a material breach of contract as to

Plaintiff and every member of the putative Class defined herein.

                           JURISDICTION AND VENUE

       20.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2) because (a) Plaintiff is a member of the putative class that consists of at

least 100 members and she and the Defendant are citizens of different states; (b)

the amount-in-controversy exceeds $5 million dollars exclusive of interest and

costs, and (c) none of the exceptions under § 1332 apply to this claim.

       21.    Venue is proper in this Court because a substantial portion of the acts

and course of conduct giving rise to the claims alleged occurred within the district

and the Defendant is subject to personal jurisdiction here.

                                        PARTIES

        22.   At all times material hereto, Plaintiff was a citizen of the State of

Florida and domiciled in Orange County, Florida.

       23.    At all times material hereto, Defendant is and was a foreign

corporation incorporated in, and with its principal place of business in Illinois, and

is, therefore, a citizen of the state of Illinois.

       24.    Plaintiff and members of the putative class are all insured under

Florida policies issued by Defendant containing materially identical policy

language.



                                             6
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 7 of 21 PageID 656




                            NATURE OF THE CASE

      25.    Defendant is an automobile insurer in Florida and provides, inter

alia, coverage for first-party property damage under collision and/or

comprehensive coverage. Such policies, issued to Plaintiff and all putative Class

Members, are form policies that promise to pay for the loss up to a limit on the

liability of ACV.

      26.    Most car accidents are “partial” losses, which is the term used where

insurers (including Defendant) pay to repair the damage to a vehicle. Where repair

of the vehicle is impossible or uneconomical, however, the loss is considered a

“total loss.” When Defendant determines that a vehicle is a total loss it elects to pay

the vehicle’s ACV.

      27.    Pursuant to the basic tenets of insurance law, once Defendant elects

to pay ACV, it is bound by that election and cannot thereafter change its mind and

decide to later pay the cost to repair or replace the amount of loss. See 12A Couch

on Ins. § 176.23. Put differently, when Defendant declares a vehicle a total loss and

voluntarily invokes its limitation of liability, it is obligated under its insurance

policy to pay the ACV of the vehicle to the insured.

      28.    Total loss scenarios are taxing. Not only has the insured likely suffered

more than a minor accident – and thus are often dealing with potential medical

injuries – there are numerous insurance-related issues, such as payment for

storage, investigation of the vehicle and claim, finding a replacement vehicle, and

so forth.

                                          7
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 8 of 21 PageID 657




      29.   Florida law, to minimize the uncertainty surrounding total-loss

situations, prescribed certain regulatory requirements that all insurers must follow

when reimbursing insureds after their vehicle is determined a total loss.

      30.   Specifically, § 626.9743, Fla. Stat. governs the adjustment and claim

payment for total-loss vehicles, i.e., where insurers decline to repair or replace a

vehicle and choose to instead base its payment on the vehicle’s actual cash value.

in such situations, the statute requires “The insurer may elect a cash settlement

based upon the actual cost to purchase a comparable motor vehicle….” Id. “Such

cost may be derived from:

         1. When comparable motor vehicles are available in the local market area,

         the cost of two or more such comparable motor vehicles available within

         the preceding 90 days;

         2. The retail cost as determined from a generally recognized used motor

         vehicle industry source such as:

                   a. An electronic database if the pertinent portions of the

                   valuation documents generated by the database are provided by

                   the insurer to the first-party insured upon request; or

                   b. A guidebook that is generally available to the general public

                   if the insurer identifies the guidebook used as the basis for the

                   retail cost to the first-party insured upon request; or




                                         8
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 9 of 21 PageID 658




            3. The retail cost using two or more quotations obtained by the insurer

            from two or more licensed dealers in the local market area.” § 626.9743,

            Fla. Stat.

      31.      Defendant, however, fails entirely to abide by such requirements, and,

in so doing, fails to pay its insureds the ACV of their vehicles.

      32.       Defendant purports to calculate the ACV of total-loss vehicles via a

third-party vendor through a system called “AudaExplore” which provides what it

calls an “Autosource Market-Driven Valuation”.

      33.      Ostensibly, the AudaExplore system identifies the list price of

comparable vehicles, which it then adjusts based on factors such as differences in

equipment, packages, and/or condition between the comparable vehicle and the

total-loss vehicle. This is a legitimate and proper method for calculating the market

value of a vehicle, and Plaintiff does not contest any of these elements of

Defendant’s methodology. Indeed, this method accurately identifies the market

value of totaled vehicles.

      34.      However, Defendant does not stop there: In violation of Florida law

and the Policy obligation to pay ACV, Defendant applies unfounded, false, and

capricious Negotiation Reductions.

      35.      Defendant represents that the Negotiation Reduction reflects some

sort of average difference between the list price and “what the dealer would be

willing” to sell it for. But Defendant does not actually base the Negotiation

Reduction on conversations with the sellers of the comparable vehicles or even

                                           9
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 10 of 21 PageID 659




 statistically valid data or calculations. Indeed, the reduction applied to Plaintiff’s

 vehicle is not supported by a comparison of the list versus sold vehicle prices within

 the State of Florida. Upon information and belief, Defendant’s Negotiation

 Reduction is arbitrary, conflicts with the very data on which it is purportedly based,

 and is nothing more than an illegitimate and capricious way to undervalue the

 total-loss vehicles.

       36.    Upon information and belief, Defendant instructs AudaExplore to

 apply the Negotiation Reduction in some states but not others. Other insurers who

 use the AudaExplore system do not instruct AudaExplore to apply the Negotiation

 Reduction to the price of comparable vehicles.

       37.    Defendant and its vendors possess millions and millions of

 transactional data showing the listed price and sold price of each vehicle.

 Defendant, through Audatex, represents that the “Negotiation Reduction” is based

 on the average difference between listed price and sold price for vehicles within

 given price points.

       38.    This is false. Upon information and belief, the data transactions shows

 there is, on average, essentially no difference between list price and sold price.

 Defendant and its vendors simply ignore or exclude all the data they don’t like.

      36.     Defendant’s standardized policy language as to comprehensive and

 collision coverage for ACV of total loss vehicles is present in every auto policy

 issued by Defendant in Florida.



                                          10
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 11 of 21 PageID 660




      37.     At all times material hereto, Plaintiff owned a 2007 Dodge Caliber

 insured by a Policy issued by Defendant.

      38.     On or about December 7, 2018, the insured vehicle was involved in an

 accident. As a result of the accident, Plaintiff filed a claim with Defendant for

 property damage.

       39.    Subsequently, Defendant determined the cost to repair the vehicle

 exceeded the ACV of the vehicle, and thus declared the vehicle to be a “total” loss.

       40.    Through a third-party vendor, Defendant determined that the vehicle

 had an “adjusted value” of $2,578.00. The adjusted vehicle value was based on the

 average of comparable vehicle prices, to which Defendant arbitrarily reduced

 through the Negotiation Reduction, resulting in an overall reduction to Plaintiff’s

 vehicle value, and resulting in Defendant paying less than the ACV of Plaintiff’s

 vehicle.

       41.    Defendant’s failure to pay the ACV of Plaintiff’s vehicle is a breach of

 the Policy, which promises to pay the ACV of the total-loss vehicle.

       42.    Plaintiff and all members of the putative Class paid all premiums

 owed under their respective insurance policies with State Farm and otherwise

 satisfied all conditions precedent, or such conditions precedent were waived or

 excused, prior to bringing this action against Defendant.

                    STATE FARM’S INSURANCE POLICY

       43.    Pursuant to its standard form policy language applicable (in relevant

 part) to all members of the putative Class, Defendant promises to pay for loss.

                                          11
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 12 of 21 PageID 661




       44.    In its Payment for Loss provision, Defendant promises to repair or

 replace the vehicle or to pay the cost to do so in money.

       45.    When an insured vehicle suffers a loss, Defendant determines the

 amount it would cost to repair the damage (including, if necessary, replacement of

 component parts), including, inter alia, applicable labor rates, cost of materials,

 paint, etc. This amount constitutes the amount of “loss” Defendant is obligated to

 pay its insureds.

       46.    However, Defendant’s liability for that amount of loss is not limitless.

 Where such amount exceeds the pre-loss ACV of the insured vehicle, Defendant is

 not liable for the full amount of loss; instead, its liability is limited to the lesser

 amount of ACV. This scenario – where the repair cost (plus salvage value) exceeds

 the vehicle’s ACV – is known in the insurance industry as a “total loss”.

       47.    By determining that Plaintiff’s and class members’ vehicles were a

 “total loss”, Defendant determined the cost to repair the respective vehicles

 exceeded their ACV.

       48.    Thus, the applicable obligation pursuant to the Policy is that

 Defendant will pay the ACV of the insured vehicle in the event it is determined by

 Defendant to be a total loss.

                 CLASS REPRESENTATION ALLEGATIONS

       50.    Plaintiff brings this action seeking representation of a class pursuant

 to Federal Rule of Civil Procedure 23.



                                           12
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 13 of 21 PageID 662




        51.   Plaintiff brings this action as a class representative, individually and

 on behalf of all other persons or entities similarly situated, more specifically

 defined as follows:


              All Florida State Farm insureds, from the earliest
              allowable time through the date of resolution of this
              action, who received a first-party total-loss valuation and
              payment on an automobile total-loss claim that included
              a “Typical Negotiation Adjustment” or similar
              Negotiation Reduction.

       52.    The issues related to Plaintiff’s claims do not vary from the issues

 relating to the claims of the other members of the classes such that a class action

 provides a more efficient vehicle to resolve this claim than through a myriad of

 separate lawsuits.

       53.    Numerosity: Although the precise number of class members is

 unknown to Plaintiff at this time and can only be determined through appropriate

 discovery, upon information and belief, including an investigation by the

 undersigned and examination of the premiums written by Defendant over the past

 five years, Plaintiff believes that the number of members of the Class numbers in

 the thousands, such that members of the Class are so numerous that joinder of all

 such claims is impracticable and numerosity as to the Classes is otherwise

 established within the meaning of Rule 1.220(a)(1).

       54.    Commonality: Rule 1.220(a)(2)’s commonality requirement for the

 Classes is satisfied because the central (and dispositive) issues in this litigation

 turn on the interpretation of materially identical policy provisions; thus, this case

                                          13
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 14 of 21 PageID 663




 is well-suited for class-wide adjudication. Defendant and all class members are

 bound by the same materially identical policy terms. Common questions include,

 but are not limited to, the following:

       a. whether Defendant’s application of a Typical Negotiation Adjustment

             complies with § 626.9743, Fla. Stat.;

       b. whether Defendant’s application of a Typical Negotiation Adjustment

             results in a breach of Defendant’s contractual obligation to pay ACV;

       c. whether Defendant’s application of a Typical Negotiation Adjustment is

             a breach of the covenant of good faith and fair dealing;

       d. whether Plaintiff and Class members are entitled to damages and the

             measure of damages owed.

       55.      Typicality: Rule 23(a)(3)’s typicality requirement is satisfied

 because Plaintiff and Class Members were injured by Defendant’s uniform

 misconduct. Plaintiff’s claims and the defenses thereto are typical of members of

 the Class. Defendant injured Plaintiff and members of the Class through uniform

 misconduct and Plaintiff’s legal claims arise from the same core practices. Plaintiff

 suffered the same harm as all Class members and Plaintiff's interests are identical

 to those of the other Class Members. Thus, typicality within the meaning of Rule

 23(a)(3) is established.

       56.      Adequacy: Plaintiff is committed to the vigorous prosecution of this

 action and has retained competent counsel experienced in prosecuting and

 defending class actions, and Plaintiff has no interests in conflict with or

                                            14
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 15 of 21 PageID 664




 antagonistic towards those of putative Class Members. Plaintiff’s counsel has

 successfully litigated other class action cases similar to that here, where insurers

 breached contracts with insureds by failing to include sales tax and/or total loss

 fees after total losses. For these and other reasons, Plaintiff and the undersigned

 Counsel are adequate within the meaning of Rule 23(a)(4).

       57.      Predominance: The previously articulated common issues of fact

 and law predominate over any question solely affecting individual Class Members.

 Resolution of the common issues in this litigation will resolve virtually the entirety

 of every Class Members’ claims in a single stroke. There are no significant

 individual questions of liability or damages whatsoever, and certainly not ones that

 predominate over issues common to the Class. Thus, predominance within the

 meaning of Rule 23(b)(3) is established.

       58.      Superiority: Class treatment is superior to any other viable

 alternative method of adjudication within the meaning of Rule 23(b)(3), in that:

             a) Neither the size of the Classes nor any other factor, makes it likely that

                difficulties will be encountered in the management of this case as a

                class action;

             b) The prosecution of separate actions by individual Class Members, or

                the individual joinders of all Class Members in this action, is

                impracticable and would create a significant and unnecessary burden

                on the resources of the courts and could result in inconsistent



                                             15
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 16 of 21 PageID 665




                adjudication, while a single class action can determine, with judicial

                economy, the rights of each member of the Class;

             c) Because of the disparity of resources available to Defendant versus

                those available to individual members of the Classes, prosecution of

                separate actions would work a financial hardship;

             d) The conduct of this action as a class action conserves the resources of

                the parties and the court system and protects the rights of each Class

                Member and meets all due process requirements. A class action is also

                superior to the maintenance of these claims on an individual basis

                when all actions arise out of the same circumstances and course of

                conduct; and

             e) Because the claims are relatively small compared to the cost, time, and

                expense of litigation, individual actions will be rendered financially

                impractical, if not impossible.

       59.      Thus, class treatment is superior to any other possible form of

 adjudication within the meaning of Rule 23(b)(3).

       60.      Plaintiff retained the undersigned counsel and agreed to pay

 reasonable attorney's fees and costs in connection with this action. Plaintiff, for

 himself and the putative Class, is entitled to recover attorney’s fees pursuant to

 Section 627.428, Florida Statutes, and taxable costs pursuant to Section 57.041,

 Florida Statutes.

                        COUNT I: BREACH OF CONTRACT

                                            16
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 17 of 21 PageID 666




       61.       The allegations in paragraphs 1 through 60 are hereby incorporated

 by reference.

       62.       This count is brought by Plaintiff on behalf of herself and all members

 of the Class.

       63.       Plaintiff and all members of the putative Class paid all premiums and

 otherwise satisfied all conditions precedent, as evidenced by, inter alia, the fact

 that Defendant determined the claims were covered claims.

       64.       Plaintiff and all members of the Class made claims under their

 insurance contracts, which Defendant determined to be total losses. Defendant

 purported to pay Plaintiff and each Class member the ACV of their totaled vehicles.

       65.       Defendant, however, failed to fully pay ACV because Defendant

 applied the arbitrary Negotiation Reduction to comparable vehicles, resulting in

 an across-the-board reduction in vehicle valuations, resulting in an underpayment

 of market value to Plaintiff and each Class member.

       66.       Given the duties and obligations imposed by the terms and conditions

 of the form insurance contract, interpreted in light of and (if necessary) conformed

 to Florida law, Defendant’s application of the Negotiation Reduction constituted a

 breach of Defendant’s obligations under its insurance contracts.

       67.       Plaintiff and putative members of the Class were damaged by

 Defendant’s breaches of contract in amounts that will be demonstrated according

 to proof.



                                             17
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 18 of 21 PageID 667




       68.    Plaintiff and putative members of the Class are entitled to

 compensatory damages, penalties, costs, attorneys’ fees, and all other relief

 allowable by law and/or that this Court deems just and proper.

 COUNT II: BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

       69.    The allegations in paragraphs 1 through 60 are hereby incorporated

 by reference.

       70.    Every contract, including the Policy, contains an implied covenant of

 good faith and fair dealing. The purpose of this duty is to ensure that parties do not

 take advantage of each other in a way that could not have been contemplated at the

 time the contract was drafted or do anything that will destroy the other party’s

 right to receive the benefit of the contract.

       71.    Defendant’s application of an arbitrary and statistically invalid

 Negotiation Adjustment was made in bad faith for no purpose other than to

 minimize Defendant’s payment obligations under its insurance contracts.

       72.    To the extent Defendant possesses some level of discretion in

 calculating ACV, Defendant did not exercise that discretion in good faith by simply

 ignoring, excluding, or tossing all data showing transactions where the sold price

 equaled or exceeded the vehicle’s list price.

       73.    Defendant also did not exercise that discretion in good faith by

 assuming any difference between sold and list price is attributable to negotiation

 off the cash price, and not other reasons unrelated to true market price, such as,



                                           18
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 19 of 21 PageID 668




 for example, a loyalty discount or employee discount or friends/family discount,

 or because the purchaser agreed to finance the purchase through the dealership.

           74.   Defendant’s use of the appraisal clause is also not exercised in good

 faith. Appraisal costs consumers, on average, approximately $700.00-$1,000.00.

 The average “Negotiation Reduction” is also approximately $700.00-$800.00.

 State Farm knows it can impose the capricious and arbitrary reduction because the

 cost to recover those damages will normally be as high or higher than the damages

 itself.

           75.   As a result, Plaintiff and members of the putative Valuation Class are

 entitled to compensatory damages, along with all penalties, attorneys’ fees, costs,

 expenses, and any other relief allowable by law and/or that this Court deems just

 and proper.

                                PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, individually and on behalf of the Class, demands a

 trial by jury on all triable issues and seeks relief and judgment as follows:

                 1. For an Order certifying this action as a Class Action on behalf of

                    the Class described above;

                 2. For an award of compensatory damages according to proof;

                 3. For an award of attorney’s fees and expenses as appropriate

                    pursuant to applicable law, including Fla. Stat. §627.428 and Fla.

                    Stat. §57.041;

                 4. For costs of suit incurred herein;

                                             19
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 20 of 21 PageID 669




            5. For prejudgment and postjudgment interest on any amounts

                awarded;

            6. For other forms of relief as this Court deems just and proper;

                                JURY DEMAND

      Plaintiff demands a trial by jury on all issues.



 Dated: August 26, 2022                  Respectfully submitted:


                                          /s/ Amy Judkins
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                                         20
Case 6:22-cv-01005-RBD-DCI Document 29 Filed 09/07/22 Page 21 of 21 PageID 670




                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 26, 2022, a true and correct copy of the

 foregoing was electronically filed with the Court’s CM/ECF system and was thus

 served automatically upon all counsel of record in this matter.

       Johanna W. Clark [FBN 196400]
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                                         21
